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                                     Declaration of Alon Leibovich

         I, Alon Leibovich, state and declare under penalty of perjury as follows:

         1.        I am the CEO and co-founder of Defendant-Counterclaim Plaintiff BrandTotal

Ltd. Defendant-Counterclaim Plaintiff Unimania, Inc., is a wholly-owned subsidiary of

BrandTotal that designs apps that work in connection with BrandTotal’s business. Collectively,

I refer to both entities herein as “BrandTotal.”

         2.        I submit this declaration in support of BrandTotal’s Motion for Temporary

Restraining Order. I am over the age of eighteen and I have personal knowledge of the facts set

forth below. If called as a witness, I could and would testify competently to these facts and

statements.

         3.        BrandTotal seeks emergency relief due to the actions of Facebook, Inc.

(“Facebook”) which, unless enjoined and restored to the status quo will result in the imminent

demise of BrandTotal’s business.

         4.        Without relief, BrandTotal is unable to carry on its business as it cannot access

the information it needs to provide valuable competitive analysis to its customers, it cannot

maintain current customers or secure new customers, it cannot maintain vendor relationships, it

cannot generate revenue, and ultimately, unless redressed, all or most of its employees will lose

their jobs.

         5.        As a result, a thriving company will be destroyed, and the market will have lost

valuable service provider resulting in less competition.




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                    BrandTotal’s Business Compensates Panelists Who Consent
                to Share Their Own Experiences with Advertising on Social Media.

         6.        Together with co-founders Amir Leshman, Omer Ramote and Oren Dor, I formed

BrandTotal almost four years ago, to be a premier advertising consulting company offering

competitive analyses of advertising efforts on social media sites like Facebook, Instagram,

Twitter, YouTube, LinkedIn, Amazon and others.

         7.        As explained on our website, https://www.brandtotal.com/, “before digital it was

pretty straightforward to track the competition in print, on billboards and on TV. But today, with

90% of today's digital marketing hidden from view and fragmented across multiple channels, it

can be challenging to understand how your brand marketing measures up to the competition.”

         8.        Fortune 500 companies and others want analytical intelligence not only about

how their own advertising is received on social media sites, but also how competitors’ ads are

viewed and perceived.

         9.        In order to provide this valuable intelligence, we conceived of an offering

whereby panelists consent to share their social media experience in exchange for cash gift cards

or other incentives. This is fairly unique in that we compensate panelists for the information that

others seek to use for free.

         10.       In our most popular offering, willing panelists download a browser extension

called UpVoice that allows us to collect information about the participant’s advertising

interactions. With the participant’s consent and after they deliberately install the app in exchange

for compensation, we are able to collect information about the ads they see and interact with on

social media sites like Facebook, as they browse as usual on those sites.




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         15.       To the best of my understanding, we are compliant with data privacy laws,

including the General Data Protection Regulation (“GDPR”) in Europe and the California

Consumer Privacy Act (“CCPA”).

         16.       In many ways, what we do is similar to what the Nielsen TV surveys did in the

past. Whereas in the past, information would be collected about which demographics were

watching which TV shows (so advertisers could better target audiences), today we compile

information about the ads various demographics see as they scroll and browse social media.

         17.       In the modern era, the only way to gather similar intelligence, as a practical

matter, is to utilize apps that are compatible with the major social media sites, like Facebook.

Manual collection would be unworkable and impractical (the volume is simply too large),

especially in view of the modest compensation available to users in a viable business model. And

while BrandTotal compiles advertising analytics from more sites than just Facebook, Facebook’s

size and breadth means that it occupies a primary position in the social media space. And in any

event Facebook’s actions have cut BrandTotal off from other sites as well.

         18.       There is no current or viable alternative to access to Facebook, and without it,

BrandTotal’s business cannot survive.

                     Facebook’s Actions Have Disrupted BrandTotal’s Access to
                  Information Making It Impossible for BrandTotal to Provide the
                       Advertising Analytics That is the Core of its Business.

         19.       Approximately two weeks ago, without warning or communication, Facebook

suspended BrandTotal’s Facebook and Instagram pages, as well as the personal pages of

BrandTotal’s principals.

         20.       BrandTotal had openly and publicly advertised its services on Facebook since

approximately August 2018 and Facebook never raised any concerns.




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         21.       Facebook also did not inform BrandTotal of any alleged wrongdoing until it filed

the Complaint in California State Court. Indeed, on October 1, 2020 BrandTotal learned of the

state court lawsuit from a news article, and promptly started receiving inquires of alleged

wrongdoing that we knew nothing about.

         22.       Additionally, as BrandTotal would learn from Facebook’s state court complaint,

Facebook sent take down notices to Google to remove applications that work with BrandTotal’s

business.

         23.       This included not only UpVoice, but also Unimania’s Ads Feed, a program that

also operates with user consent, but is a less popular part of BrandTotal’s offering and we are not

currently asking for anything besides UpVoice to be reinstated at this time.

         24.       On approximately October 2 BrandTotal learned that Google removed these and

other BrandTotal-related applications from the Google Chrome store.

         25.       Collectively these actions have resulted in BrandTotal losing access to almost all

of its data stream necessary for it to compile advertising analytics for its customers.

         26.       Moreover, BrandTotal’s current panelists cannot login to collect any rewards they

have earned, and BrandTotal cannot recruit new panelists.

         27.       Already, UpVoice panelists have voiced objection to Facebook’s unilateral

actions to stop panelists from monetizing their own information and experiences.

         28.       Attached as Exhibit A is a true and correct copy of email comments of several

panelists reacting to Facebook’s actions. For example, one UpVoice participant states, “it’s a

browser extension that you have to OPT IN to . . ..”

         29.       Facebook contends in the Complaint that BrandTotal’s identification of Facebook

as a “participating site” is improper, but Facebook never brought this issue to our attention




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before filing the State Court action. Had Facebook approached us, we would have removed that

verbiage, and have since removed it. We also will not use the verbiage in any new

advertisements for UpVoice to the extent we are able to get UpVoice back up and running.

           Facebook’s Actions Are Driving Away Existing and Prospective Customers

         30.       Facebook’s actions are also impacting our ability to provide analytics to existing

customers, i.e., companies wanting advertising analytics from social media.

         31.




         32.




         35.




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         36.




         41.




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         43.




                       Facebook’s Actions are Resulting in Reputational Harm

         44.       Further, Facebook’s actions and allegations are causing what may soon be

irreversible reputational harm to BrandTotal.

         45.       To the best of my understanding, BrandTotal complies with all applicable data

and privacy laws and prides itself on being transparent with our panelists.

         46.       The business model is successful because panelists are able to receive value for

their own advertising interactions, and companies are able to receive high level analytical

information about competitive advertising.

         47.       Yet, Facebook has cast BrandTotal as a “malicious” actor, implying that

BrandTotal is somehow duping panelists to collect sensitive personal information without

consent.

         48.       For example, an article in Tech Crunch appearing on October 1 stated in the first

line, “Facebook today says it has filed a lawsuit in the U.S. against two companies that had

engaged in an international ‘data scraping’ operation.” (emphasis added). A true and correct

copy of this article is attached as Exhibit E.

         49.       This label “international data scraping operation” is reputationally harmful, and

implies nefarious conduct. It is an insinuation that we are like Cambridge Analytica. “Data

scrapers” collect as much information as they can through any means possible using automated

tools, like bots and scripts. Cambridge Analytica infamously scraped millions of Facebook

profiles in the run-up to the 2016 presidential election in order to target undecided voters.




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         50.       BrandTotal does not engage in this sort of conduct. BrandTotal’s panelists are

informed and compensated.

         51.       The misleading portrayals of BrandTotal have the potential to destroy

BrandTotal’s reputation such that fortune 500 companies and others will refuse to do business

with BrandTotal now and for the foreseeable future.

        Facebook’s Actions are Preventing Fundraising and New Capital Contributions

         52.       In addition to monthly revenue, BrandTotal relies on private fundraising and

venture capital to support and grow its business.

         53.




         55.




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                   The Loss of Revenue and Other Impacts Will Result in Financial Collapse
                   and Job Loss in a Short Time Period

         57.       As indicated above, BrandTotal relies on monthly revenues and fundraising to

finance operations.

         58.




         61.




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         65.       Allowing BrandTotal to continue to operate does no harm to Facebook as

BrandTotal is not improperly “scraping” private data and it respects user privacy. Moreover,

BrandTotal’s business and related apps, including UpVoice, does not impair the proper working

or appearance of Facebook.




                                                 ***

         I declare under penalty of perjury of the laws of the United States that the foregoing is

true and correct.

                   Executed this 16th day of October 2020.




                                                       ____________________________________
                                                       Alon Leibovich




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Reddit




                                         1                                    EXHIBIT A
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               Exhibit B
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               Exhibit C
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               Exhibit D
                    Filed Under Seal
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                 Exhibit E
Facebook sues two companies engaged in data scraping operations | TechCrunch Page 1 of 2
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Facebook sues two companies engaged in data scraping operations




Facebook today says it has filed a lawsuit in the U.S. against two companies that had engaged in an international “data scrap-
ing” operation. The operation extended across Facebook properties, including both Facebook and Instagram, as well as other
large websites and services, including Twitter, Amazon, LinkedIn and YouTube. The companies, which gathered the data of
Facebook users for “marketing intelligence” purposes, did so in violation of Facebook’s Terms of Service, says Facebook.

The businesses named in the lawsuit are Israeli-based BrandTotal Ltd. and Unimania Inc., a business incorporated in Dela-
ware.

According to BrandTotal’s website, its company offers a real-time competitive intelligence platform that’s designed to give
media, insights and analytics teams visibility into their competition’s social media strategy and paid campaigns. These
insights would allow its customers to analyze and shift their budget allocation to target new opportunities, monitor trends
and threats from emerging brands, optimize their ads and messaging and more.

Meanwhile, Unimania operated apps claimed to offer users the ability to access social networks in different ways. For exam-
ple, Unimania offered apps that let you view Facebook via a mobile-web interface or alongside other social networks like
Twitter. Another app let you view Instagram Stories anonymously, it claimed.

However, Facebook’s lawsuit is largely focused on two browser extensions offered by the companies: Unimania’s “Ads Feed”
and BrandTotal’s “UpVoice.”

The former allowed users to save the ads they saw on Facebook for later reference. But as the extension’s page discloses,
doing so would opt users into a panel that informed the advertising decisions of Unimania’s corporate customers. UpVote, on
the other hand, rewarded users with gift cards for using top social networking and shopping sites and sharing their opinions
about the online campaigns run by big brands.

Facebook says these extensions operated in violation of its protections against scraping and its terms of service. When users
installed the extensions and visited Facebook websites, the extensions installed automated programs to scrape their name,
user ID, gender, date of birth, relationship status, location information and other information related to their accounts. The
data was then sent to a server shared by BrandTotal and Unimania.

Facebook lawsuit vs BrandTotal Ltd. and Unimania Inc. by TechCrunch on Scribd

Data scrapers exist in part to collect as much information as they can through any means possible using automated tools, like
bots and scripts. Cambridge Analytica infamously scraped millions of Facebook profiles in the run-up to the 2016 presidential




                                                               1                                         EXHIBIT E
https://techcrunch.com/2020/10/01/facebook-sues-two-companies-engaged-in-data-scrap… 10/14/2020
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election in order to target undecided voters. Other data scraping operations use bots to monitor concert or event ticket prices
in order to undercut competitors. Scraped data can also be used for marketing and advertising, or simply sold on to others.

In the wake of the Cambridge Analytica scandal, Facebook has begun to pursue legal action against various developers that
break its terms of service.

Most cases involving data scraping are litigated under the Computer Fraud and Abuse Act, written in the 1980s to prosecute
computer hacking cases. Anyone who accesses a computer “without authorization” can face hefty fines or even prison time.

But because the law doesn’t specifically define what “authorized” access is and what isn’t, tech giants have seen mixed results
in their efforts to shut down data scrapers.

LinkedIn lost its high-profile case against HiQ Labs in 2019 after an appeals court ruled that the scraper was only collecting
data that was publicly available from the internet. Internet rights groups like the Electronic Frontier Foundation lauded the
decision, arguing that internet users should not face legal threats “simply for accessing publicly available information in a
way that publishers object to.”

Facebook’s latest legal case is slightly different because the company is accusing BrandTotal of scraping Facebook profile data
that wasn’t inherently public. Facebook says the accused data scraper used a browser extension installed on users’ computers
to gain access to their Facebook profile data.

In March 2019, it took action against two Ukrainian developers who were harvesting data using quiz apps and browser exten-
sions to scrape profile information and people’s friends lists, Facebook says. A court in California recently recommended a
judgement in Facebook’s favor in the case. A separate case around scraping filed last year against a marketing partner,
Stackla, also came back in Facebook’s favor.

This year, Facebook filed lawsuits against companies and individuals engaged in both scraping and fake engagement services.

Facebook isn’t just cracking down on data scraping businesses to protect user privacy, however. It’s because failing to do so
can lead to large fines. Facebook at the beginning of this year was ordered to pay out over half a billion dollars to settle a
class action lawsuit that alleged systemic violation of an Illinois privacy law. Last year, it settled with the FTC over privacy
lapses and had to pay a $5 billion penalty. As governments work to further regulation of online privacy and data violations,
fines like this could add up.

The company says legal action isn’t the only way it’s working to stop data scraping. It has also invested in technical teams
and tools to monitor and detect suspicious activity and the use of unauthorized automation for scraping, it says.




                                                                2                                          EXHIBIT E
https://techcrunch.com/2020/10/01/facebook-sues-two-companies-engaged-in-data-scrap… 10/14/2020
